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                  EXHIBIT 24
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                 United States Copyright Office
                 Library of Congress· 101 Independence Avenue SE·Washington DC 20559-6000· www.copyright.gov




February 25, 20 19


The SimonLaw Firm PC
Attn: Anthony G. Simon
800 Market Street, Suite 1700
StLouis, MO 63 10 1


Correspondence ID:     1-3F8WHNO


RE:    Bible Verse Design


Dear Anthony G. Simon:



Registration of this work must be refused because it lacks the authorship necessary to support a
copyright claim. Graphic elements such as typography and typeface, calligraphy, and lettering are not
considered copyrightable even if they are distinctively arranged or printed. Similarly, standard forms of
printer's ornamentation and familiar designs or symbols are not protected by copyright.


Copyright protects original works of authorship that are fixed in some physical form. See 17 U.S.C. §
102(a). As used in the copyright context, the term "original" means that the work was independently
created by the author (as opposed to copied from other works), and that it possesses sufficient creative
authorship. See Feist Publications v. Rural Telephone Service Co. , 499 U.S. 340 ( 1991).


To satisfy these requirements, a work of the visual arts must contain a minimum amount of creative
pictorial, graphic or sculptural authorship; a literary work must contain a minimum amount of text.
Copyright does not protect familiar symbols or designs; basic geometric shapes; words and short phrases
such as names, titles, and slogans; or mere variations of typographic ornamentation, lettering or
coloring. See 37 C. P.R. §202.T. FUrther, cop yright does-not extend to any idea,-concept, system, or-·
process which may be embodied in a work. 17 U.S.C. § 102(b).


Neither the aesthetic appeal nor commercial value of a work, nor the amount of time and effort
expended to create a work are factors that are considered under the copyright law. See Bleistein v.
Donaldson, 188 U. S. 239 (1903); Feist Publications v. Rural Telephone Service Co., 499 U.S. 340
( 199 1). The question is whether there is sufficient creative authorship within the meaning of the
copyright statute and settled case law.


After careful consideration, we have determined that this particular work will not support a claim to
copyright under the standards described above. Therefore we must refuse registration of this claim. The
copyright law requires that we retain the deposit of this w:ork. The filing fee is nonrefundable.




                                                                                      ALEXANDER000067
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Anthony G. Simon                                   - 2-                                                 1-3F8WHNO



For more information on copyright, please visit our website at www.copyright.gov.



This letter is for your information only; no response is necessary.


Sincerely,
Examiner Sosinski
Visual Arts Division
U.S. Copyright Office


Enclosures:
 Reply Sheet
                                                          �--   -   -   - --..:-
                                                                               :._   -   -- ·




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*1-3F8WHNO*

Return this sheet if you request reconsideration.

How to request reconsideration:

             •     Send your request in writing. Please note that your request must be postmarked (via the
                   U.S. Postal Service) or dispatched (via commercial carrier, courier, or messenger) no
                   later than three months after a refusal is issued.
             •     Explain why the claim should be registered or why it was improperly refused.
             •
                   Enclose the required fee- see below.
             •
                   Address your request to:

                          RECONSIDERATION
                          Copyright RAC Division
                          P.O. Box 71380
                          Washington, DC 20024-1380


             Note:        Include the Correspondence ID Number (see above) on the first page. Indicate either "First
                          Reconsideration" or "Second Reconsideration" as appropriate on the subject line.



Notification of decision: The Cop)'light Office will send a written notification of its decision,
including an explanation of its reasoning.


First Request for Reconsideration: The Registration Program Office considers the first request. If
it upholds the refusal, you may submit a second request.


Second Request for Reconsideration: The Copyright Office Board of Review considers the second
request. The Board consists of the Register of Copyrights and the General Counsel (or their
respective designees), and a third member appointed by the Register. The Board's decision
constitutes final agency action.


 FEES:


First Request                                       $250 per claim (i.e. the work(s) contained on one application)


·Second Request                                     $500 per claim (i.e. the work(s) contained on one application)




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